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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARING IN PRO PER
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 ATTORNEY(S) FOR:    Plaintiffs Carmen Padilla, et al.
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
Carmen Padilla, Leticia Padilla, Jose Padilla, Jesus                           CASE NUMBER:

Padilla, Ismael Padilla, and Alfredo Padilla                                                     2:21-cv-02062-DMG-AS
                                                              Plaintiff(s),
                                     v.
Brookfield Healthcare Center; Downey
                                                                                              CERTIFICATION AND NOTICE
Community Care LLC
                                                                                                OF INTERESTED PARTIES
                                                             Defendant(s)                           (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                            Plaintiffs Carmen Padilla, et al.
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                      CONNECTION / INTEREST
Carmen Padilla                                                                Plaintiff
Leticia Padilla                                                               Plaintiff
Jose Padilla                                                                  Plaintiff
Jesus Padilla                                                                 Plaintiff
Ismael Padilla                                                                Plaintiff
Alfredo Padilla                                                               Plaintiff

Brookfield Healthcare Center                                                  Defendant
Downey Community Care LLC dba Brookfield Healthcare                           Defendant
Center




         March 9, 2021                                     /s/ Katherine M. Shrager
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Plaintiffs Carmen Padilla, et al.


CV-30 (05/13)                                            NOTICE OF INTERESTED PARTIES
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  1                                      PROOF OF SERVICE
  2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
  3           I am employed in the COUNTY of LOS ANGELES, STATE of CALIFORNIA. I am
      over the age of 18 and not a party to the within action; my business address is 1901 Avenue of
  4   the Stars, Suite 1020, Los Angeles, California 90067.
  5          On March 9, 2021, I served the foregoing document(s) described as Notice of
      Interested Parties in this action as follows:
  6
      Michael P. West, Esq.
  7   Ashley A. Escudero, Esq.
      CLARK HILL LLP
  8   1055 West Seventh Street, 24th floor
      Los Angeles, CA 90017
  9   Tel: (213) 891-9100
      Fax: (213) 488-1178
 10   Email: mwest@clarkhill.com
      Email: aescudero@clarkhill.com
 11
      Attorneys for Defendants, Downey
 12   Community Care LLC and Brookfield
      Healthcare Center
 13
             [x]    BY MAIL: I am readily familiar with my firm’s or other business’s practice for
 14                 the collection and processing of correspondence for mailing with the United
                    States Postal Service. In the ordinary course of business, correspondence would
 15                 be deposited with the United States Postal Service that same day. I placed true
                    copies of the above-entitled document in envelopes addressed as shown above
 16                 and sealed and placed them for collection and mailing on the date stated above,
                    following ordinary business practices.
 17
             [ ]    BY ELECTRONIC MAIL: I caused said document(s) to be transmitted by
 18                 electronic mail to the addressee(s) above.
 19          [ ]    BY OVERNIGHT DELIVERY: I enclosed the documents in an envelope or
                    package provided by an overnight delivery carrier and addressed to the persons
 20                 at the addresses above. I placed the envelope or package for collection and
                    overnight delivery at an office or a regularly utilized drop box of the overnight
 21                 delivery carrier.
 22          [ ]    BY FACSIMILE: In addition to the above service by mail, hand delivery, or
                    Federal Express, I caused said document(s) to be transmitted by facsimile to the
 23                 addressee(s) above.
 24          [ ]    (State) I declare under penalty of perjury under the laws of the State of
                    California that the above is true and correct.
 25
             [x]    (Federal) I declare that I am employed in the office of a member of the bar of
 26                 this court at whose direction the service was made.
 27
             Executed on March 9, 2021, at Los Angeles, California.
 28

                                                  Katherine M. Shrager
                                                  Katherine M. Shrager
